         Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 1 of 12




                      UNITED STA TES DISTRICT COURT
                  FOR THE DISTRICT OF NEW HAMPSHIRE


                                        Karen Testerman,/?^ se
                                        Lynn-Diane Briggs,pro se
                                      Wayne Paul Saya,Sr,,pro se
                                                  Plaintiffs
                                                      Vs
                                 DAVID SCANLAN
                   SECRETARY OF STATE FOR NEW HAMPSHIRE,et al,
                                                 Defendants
                                    Docket No. 1:23-cv-00499-JL-AJ


PLAINTIFFS MOTION TO ‘ALTER OR AMEND JUDGEMENT’ UNDER FED.R. CIV.
 P. 59(e)PURSUANT TO THE COURT’S DECISION AND ORDER TO DISMISS FOR
                          LACK OF STANDING.


    Plaintiff, Wayne Paul Saya, Sr. “plaintiff Saya”pro se and Lynn-Diane Briggs, “plaintiff

Briggs”pro se, individually and as “Plaintiffs”, hereby move the honorable court under Fed. R.

Civ. P. 59(e)' to “Alter or Amend Judgement” regarding the court’s Order on the issue of the

plaintiffs ‘Standing’

    Plaintiffs submit(1)the judgment was based upon a manifest error of law or fact;(2)there is

newly discovered or previously unavailable evidence;(3)to prevent manifest injustice; and

(4)there is an intervening change in controlling law. See 11 CHARLES ALAN WRIGHT &

ARTHUR R. MILLER,FEDERAL PRACTICE AND PROCEDURE § 2810.1 (2d ed. 1995).

    Specifically.(1)the court overlooked and/or did not address the Plaintiffs claim that

‘Standing’ in this action is found within the two U.S. Supreme court cases of Moore v. Harper,


^ Fed.R.Civ.P. 59(e) Motion to Alter or Amend a Judgment. A motion to alter or amend a judgment must be filed
no later than 28 days after the entry of the judgment.

                                                       1
        Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 2 of 12




600 U.S. 1 (decided June 27, 2023)[hereinafter,''Moore"] and New York State Rifle & Pistol

Assn., Inc., et al. v. Bruen, 597 U.S. 1, [hereinafter,"Bruen"] No. 20-843 (U.S. Supreme Court,

June 23, 2022).

                       "I'm going to take a second look — you know,I--1planned on ruling

       todayfrom the bench because I thought I had a pretty good idea ofthe answer here, but

       I'm going to take a harder look at Bruen and Moore v. Harper because while I don't think

       those cases address standing law, it might be that you've given me a different way of

       perceiving and I'm going to take a look.” Transcript of January 5. 2024 Evidentiary
       Hearing before the Honorable Joseph N. Laplante. “Hearing Transcript”. Page 114. lines
       8-14.


   Further, the court did not cite or address Bruen or Moore^ individually or collectively in its

opinion and Order to Dismiss.(2)In support of plaintiffs claim that the Bruen and Moore

decisions apply to the plaintiffs remedy upon which relief can be granted, during the January 5,

2024 Evidentiary Hearing on the issue of‘Standing’(Pacer Doc. 65), this honorable court

answered Plaintiff Testerman, in so many words, which indicated that no other relief is available

within the federal court system—when a state knowingly and willingly violates state Election

laws, where such violations directly affect a member group of registered Republican voters. See

Hearing Transcript-Pg. 1 16. lines 6-7:

       Question from Plaintiff Testerman - "If we cannot establish standing in this court, where

       do we gofor remedy?”

       Answer by the court - But the remedyfor this kind ofthing, ifthere's no standing .. . the

       remedy isjust the ballot box. Pg. 116. lines 9-15. and

(3)New evidence: Where the Primary Election in question has now taken place and the voting

results show that Republican and Democrat candidates were not treated equally and fairly, where

as reported by both local and national newsprint and television media, thousands of undeclared

                                                2
          Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 3 of 12




New Hampshire Democrat voters voted within the Republican Presidential primary Election, and

as alleged in violation of State law—infra, to sway the Republican party nominee for President

of the United States. These thousands of voters were taken or removed from bonafide candidates


within the Democrat party, skewing the Primary Election results and placing into question the

Democrat party nominee as well as putting into question the accurate vote tally for the successful

Republican nominee of New Hampshire. Plaintiffs here argue that the ballot box is now skewed

with unlawful votes mixed with plaintiffs lawful votes, with no way to determine or knowing

whether plaintiffs ‘Republican party’ nominees and the opposing ‘Democrat party’ nominees

were negatively affected.

            The Question Presented Will Continue To Recur Until this Court Resolves It.^

    For this court to leave “uncured” the Defendants violations of New Hampshire Laws RSA

659:14 and RSA 654:34, Defendants will continue their circumvention and violation of these

state Election laws in the upcoming 2024 federal congressional primary Elections and general

Elections, with no political party-affiliated member (including plaintiffs) having the right to

challenge these federal state Election law violations, which have the ability to change the success

or failure of the plaintiffs preferred candidate, and that have now in fact affected the plaintiffs

preferred candidate.

    Wherefore, plaintiffs believe the honorable court must provide a remedy to the continuing

constitutional questions regarding their 42 USC 1983 civil rights claim and deprivation of rights

under color of law (Pacer Doc. 32-1, claims II and IV); the federal voting rights act under federal

law (Pacer Doc. 32-1, Claims I and II), and plaintiffs due process and equal protection claims




^ C. The Question Presented Will Continue To Recur Until this Court Resolves It. "The question whether a State's
courts or other entities may nullify, alter, or replace the election regulations enacted "by the Legislature thereof" is
not going to go away." See Moore v. Harper at 23. Emphasis supplied

                                                           3
          Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 4 of 12




pursuant to the New Hampshire Bill of Rights as cited within all claims of the plaintiffs and

under the fourteenth amendment to the federal constitution.


         Plaintiffs Memorandum In Support of Motion to Alter or Amend Judgement

1.    Plaintiff argue that their path to complete relief runs through this Court, and plaintiffs

continue to have a “personal stake in the ultimate disposition of the lawsuit” sufficient to

maintain this Court’s jurisdiction. Chafin v. Chafin, 568 U. S. 165 at 172 (internal quotation

marks omitted).

2. Constitutional requirement ensures that the parties before the court retain a “personal stake'

in the litigation. Baker v. Carr, 369 U. S. 186, 204(1962), and there must exist a dispute “at all

stages of review, not merely at the time the complaint is filed.” Genesis Healthcare Corp. v.

Symczyk, 569 U. S. 66, 71 (2013)(internal quotation marks omitted). See Moore v Harper at 6-

Ik In the instant action the plaintiffs have shown a ‘personal stake’ as members of a political

affiliation who have made substantial financial investments^ and contributed countless work

hours.


         “I have strategized and consulted with Karen [Plaintiff Testerman] when she ranfor

         senator and two timesfor governor. We have done multiplefund-raisers and sponsored

         several tables and eventsfor the Republican party. We have both also spent — or J have

         spent — many, many hours preparingfor these events,fund-raising, sponsoring,just as

         much we could do tofurther the platform ofthe Republican party.” Hearing Transcript,

         Testimony of Plaintiff Briggs, pg. 62,lines 4-11. an activistfor over six years, and

         involved with Republican party pretty much my whole life, over 30 years                    Lines 16-17.




^ Hearing Transcript, Testimony of Plaintiff Saya, page 77- lines 19-22, pg. 79- lines 16-21, page 104- lines 18-25.

                                                          4
        Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 5 of 12




3. Plaintiffs have alleged the Defendants knowingly and willingly circumvented and violated

state Election laws, which were designed by the New Hampshire legislature for Federal Primary

and general Elections, and for purposes of the court’s hearing on plaintiffs ‘standing’, defendants

violations as alleged were acknowledged by the court as true. Hearing Transcript, pg. 104,

lines 6 and 7.

4. Plaintiffs contend that the circumvention and violations of these Primary and General

Election laws were intended to circumvent and avoid the very Election laws enacted by the New

Hampshire legislature as mandated under the Federal Elections clause.

       Although the Elections Clause does not exempt state legislaturesfrom the ordinaiy

       constraints imposed by state law,federal courts must not abandon their duty to exercise

       judicial review. This Court has an obligation to ensure that state court interpretations of

       state law do not evadefederal law. Moore v. Harper, above at 6.


5. Accordingly, although the instant complaint does not stem from a state court action, the issue

of Defendants acknowledging a state Elections law violation in RSA 659:14-11 along with

Defendants wrongful interpretation of RSA 654:34—the issue remains that both state Election

laws are being evaded by the defendant chairman of the Republican party of which plaintiffs are

a member, and by an unelected defendant Secretary of State whom is the chief Elections law

officer of the State of New Hampshire.

       And, here, Congress — Congress has told all the states, you have to create your own
       election laws. And now we've created our election law and lows that are supposed to

       protect the integrity ofour elections, and now we'rejust using those laws the way we

       want to without evenfollowing them. And, to me, that's — that's harming me because now

       I — there's no such thing as afree andfair election in this state anymore, not with the

       way it's going on now. Hearing Transcript, Testimony of Plaintiff Saya, pg. 82, lines
       13-21.



                                                5
         Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 6 of 12




6. Plaintiffs argue that the New Hampshire defendant Secretary of State, and with help from

defendant chainnan of the New Hampshire Republican State Committee “NHRSC”,changed the

process of selecting United States Presidential candidates, and continue to use these same

Elections law schemes via evading state Election laws, for electing Republican Presidential

nominees from a political group of which all plaintiffs are registered members.

               ‘‘‘‘When the Second Amendment’s plain text covers an individual’s conduct, the

        Constitution presumptively protects that conduct. The government must then justify its

        regulation by demonstrating that it is consistent with the Nation’s historical tradition of

        firearm regulation. Only then may a court conclude that the individual's conductfalls

        outside the Second Amendment’s “unqualified command.” Konissbers. S66 U. S.. at
        50, n. 10.” See Bruen at 15. Par 1

        C

         “This Second Amendment standard accords with how we protect other constitutional
        rights. ’’ See Bruen at 15. Par 2


1. Accordingly, Moore establishes judicial review over the Elections Clause and Elections, and

Bruen establishes the standard of review of federally protected rights.

8. The plaintiffs suit is continuing because these same aversion tactics by the defendants are

continuing through to the New Hampshire congressional primary in September of2024 and the

New Hampshire general Election in November 2024.

9. Whereas, plaintiff Wayne Paul Saya, Sr., “plaintiff Saya” has a ‘personal stake’ in this

action, where he has been a 30-year registered member of the Republican party, high-level

financial benefactor and consistent state-wide supporter of this political group with plaintiff

Testerman and plaintiff Briggs, but also with other high profile national campaigns and political

affiliates.




                                                 6
        Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 7 of 12




       ‘7Ve Worked — a lot ofpeople — a lot ofpeople runningfor office call me and they'll ask

       to have eventsfor them. I've thrown eventsfor Scott Brown,for Don Bolduc, and it costs

       a lot ofmoney to do things like that. I've worked on Capitol Hill with Kelly Ayotte with

       regards to veterans affairs. And when 1see that a lot of— when 1 started reading in the

       papers during the summertime with regard to undeclareds being literally pushed on —

       with commercials on TV and in the newspapers to change — change your party affiliation

       to"so that you can keep Donald Trump out, ofcourse, 1 — you know, I — I'm a

       conservative. So I don't necessarily votefor one candidate. I haven't even made up my

       mind yet out ofthe three. But when Isee that happening, it -- it alarmed me. It concerned

       me. And then Ireceived phone calls indicating, well, we need more money because ofall

       these new voters now that are switching over." Hearing Transcript, Testimony of

       Plaintiff Saya, pg. 64,lines 4-12.



10. Whereas, plaintiff Lynn-Diane Briggs, “plaintiff Briggs” has a ‘personal stake’ in this action,

where plaintiff Briggs is a 30-year registered member of this Republican party, and conservative

radio LLC.

11. The plaintiffs argued that their financial support and volunteer actions within this political

group reveals the plaintiffs have more than just a stake in this case, but a ‘personal stake’ in the

described presidential primary Elections, as well as the state’s congressional primaries in

September of 2024 and the state’s General Federal Elections in November of2024.

12. As registered members of this Republican ‘group’, the described harm is directed toward

each of the plaintiffs personally.

        "I recognized that Mr. Ager and Mr. Scanlan, in their actions back andforth with letters

       andjust the whole gamut ofstuffgoing on, that a strategy has been allowed and has been

       set in motion by notfollowing the law, 659:14. Notfollowing it as written, has allowed a

       candidate to be selectedfor me.” Hearing Transcript, Testimony of Plaintiff Briggs,

       pg. 63, lines 18-23. “Yeah. Ifeel that I'm being deprived ofafree andfair — fair and

       free election. I have been a registered Republican and according to this statute, it was

                                                  1
         Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 8 of 12




       supposed to be cut offin June. It was not. It says that undeclared voters may pull a ballot

        in my primary, because this is about me, so in my primary. And I have a problem with

        that. I reallyfeel that I'm being disillusioned, I'm being ignored. Ifeel that I'm being

        misled.” Pg. 64,lines 4-12.


13. Plaintiffs contend that this is not an issue regarding “every New Hampshire voter”, but

specifically towards the plaintiffs as members of an affected group of registered Republicans, all

of which ‘have a personal stake’ in the outcome of all primary and general Elections: The Court:

 To say that you have standing would mean that every — basically every New Hampshire voter

could bring afederal lawsuit to have this enforced.'" Hearing Transcript, Pg. 102, lines 9-11.

14. Accordingly, not every New Hampshire voter, and not even a handful of New Hampshire

voters, can demonstrate the financial and personal labor support as demonstrated by the plaintiffs

in the case at bar.


15. In addition, this issue directly affects each of the plaintiffs as high level registered members

of a political affiliated group, and each having a ‘personal stake’ in seeing a free and fair election

for their own candidate.


16. The defendants offered no reasoning or evidence as to the motive, intention or purpose as to

why the above-described state Election laws were violated in such a way that directly impacts

each plaintiff by interfering with their individual vote.

17. Where the Defendants did not offer any such reasoning or purpose, the court permitted the

Defendants to shift the burden of proof upon the Plaintiffs in the form of‘Standing’.

18. Specifically, the defendants interfered with the Federally-required state Election laws in

order to cause a change in the plaintiffs and their political party’s intended Presidential nominee.

19. Plaintiffs believe the court overlooked the plaintiffs Statement of Facts and Memorandum of

Law in Support of‘Standing’(Pacer doc. 63), and the plaintiffs closing argument during the
           Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 9 of 12




January 5, 2024 hearing on ‘Standing’ before the Honorable Court, (Laplante, J.), specifically

relating to the 6-3(2023) Supreme court decision in the case of Moore v. Harper, 600 U.S. 1

(decided June 27,2023)[hereinafter, “Moore”] and New York State Rifle & Pistol Assn., Inc., et

al. V. Bruen, 597 U.S.l,[hereinafter,“Bruen”] No. 20-843 (U.S. Supreme Court, June 23, 2022).

20. Specifically, where in Moore, U.S. Supreme Court Justice Roberts provided a colloquy

containing the history and importance of Judicial review, that Plaintiffs here are hard-pressed to

understand how and why they now are prohibited from receiving such review when state laws

are used to interfere with Plaintiffs political efforts. Here,judicial review is a necessity:

            In the Federalist Papers, Alexander Hamilton maintained that “courts ofjustice” have

             the “duty.. . to declare all acts contrary to the manifest tenor ofthe Constitution

             void. ” The Federalist No. 78, p. 466(C. Rossiter ed. 1961). “[T]his doctrine” of

            judicial review, he also wrote, was “equally applicable to most ifnot all the State

            governments.” Id., No. 81, at 482. See Moore at 14. par 2. **


21. Whereas, the plaintiffs recited these two recently controlling U.S. Supreme court authorities

within their complaint, and various memorandums of law leading up plaintiffs closing argument

during the January 5”’, 2024 hearing regarding ‘standing’. Plaintiffs believe the court disregarded

the ‘relevancy of the Plaintiffs ‘harm in fact’ within these authorities, where the court rendered

no opinion or mention regarding the statutory authorities violated by the defendants. See ‘Order

on Motion To Dismiss’, by the court dated January 9, 2024, pg.5 & 6. footnote 5                          Court’s

Order”.



  On January 22, 2024, the U.S. Supreme Court ordered Texas to allow federal border agents access to the state's
border with Mexico, where Texas officials have deployed miles of concertina wire. However, Texas and Governor
Abbott are putting in more razor wire at the southern border just days after the high court gave the go-ahead to
the federal government to remove the wire. https://www.wlbt.eom/2024/01/26/texas-eovernor-ignores-suDreme-
court-ruline-adds-more-razor-wire-border/ The federal courts are frustrating the people from relief, and in the
instant case, the court directing the plaintiffs to the ballot box only provides activists, not the plaintiffs, to explore
Article 10 of the New Hampshire constitution, where "all other means of redress are ineffectual", and where a
defective vote at the ballot box is at issue.

                                                            9
         Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 10 of 12




22. Therefore, the plaintiffs seek a reversal of the court’s January 9, 2024 Order on Motion to

Dismiss, in order to argue ‘standing’ using the Bnien-Moore standard of review for state

Elections of Federal candidates.

Conclusion

         The ‘Plaintiffs Motion to Alter or Amend Judgement’ is here respectfully submitted to
provide the honorable court with a Plaintiffs view that outlines their decades of commitment to a

conservative segment(group) of voters within an individual political party that consists of a

number of additional subdivisions (ultra conservative, moderate, ultra-moderate, right-leaning

liberal, etc), which is far separated from the general or ordinary New Hampshire voter. These

designated political separations also apply to the New Hampshire Democrat Party.

         In addition, there remains the question of the New Hampshire electorate knowing that

their state government is knowingly violating state Election laws in a perceived effort to meet the

needs of a lame-duck Governor, bent on unprincipled actions to destroy a segment of his own
Party.

         Finally, when considering the two points as described above, Plaintiffs reassert their

‘Statement of Facts and Memorandum of Law in Support of Standing’—(Pacer Doc. 63).


Prayer for Relief

         The plaintiffs contend that they have suffered an "injury in fact," meaning that the injury

is of a legally protected interest which is (a) concrete and particularized and (b)actual or
imminent.

         Therefore, Plaintiffs argue that these above-described issues alone provide the

requirements for ‘standing’, where Plaintiffs have sustained and will continue to sustain direct
interference in their vote as described above, and that this harm is redressable by this court.

Plaintiffs have demonstrated a “concrete and particularized” interference against their efforts

where defendants are circumventing state Election laws against Plaintiffs individual efforts as

members of a political group, and that the hann described is directly traceable to the Defendants

conduct of averting these very state Election laws, apparently or perceived as to benefit

Defendants own individual political agenda. Plaintiffs argue it is not an issue of simply violating




                                                 10
             Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 11 of 12




     these described Election laws, but the harm caused as a result of these constitutional violations
     under color of law.

            Along with the foregoing reasons, Plaintiffs Motion for the court to ‘Alter or Amend’ the
     court’s dismissal of this action should be approved, in the interest ofjustice, or for any reason
     this court may deem fair and just.


                                                                                      ND
     SWORN TO UNDER PAINS AND PENALTIES OF PERJURY THIS 26                                 DAY OF
     JANUARY,2024.


     Respectfully submitted,
                                     n
                                                 \J
i/                                                    /
     Wayne Paul Saya, Sr. Plaintiff, pro se                Lynn-Diane Briggs, Plaintiff,pro se
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                                                      11
       Case 1:23-cv-00499-JL-AJ Document 70 Filed 01/26/24 Page 12 of 12




                              CERTIFICATE OF SERVICE

   I, Wayne Paul Saya, Sr., Plaintiff, pro se, have caused to deliver the named,PLAINTIFFS
   MOTION TO ‘ALTER OR AMEND JUDGEMENT’ UNDER FED. R. CIV. P. 59(e)
   PURSUANT TO THE COURT’S DECISION AND ORDER TO DISMISS FOR
   LACK OF STANDING, and the foregoing documents have been served upon the following
   Defendants and Plaintiffs, electronically and/or certified mail with U.S. postage pre-paid:



David Scanlan, Defendant                   Chris Ager, Defendant
Secretary of State of New Hampshire        Chairman
C/O: Brendan Avery O'Donnell               NH Republican State Committee
NH Department of Justice (Concord)          10 Water Street, Concord, NH 03301
One Granite Place South                    By Counsel: Attorney Bryan Gould
Concord, NH 03301                          Cleveland, Waters and Bass, P.A.
603-271-3650                               2 Capital Plaza, Concord, NH 03302-1137
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SWORN TO UNDER PAINS AND PENALTIES OF PERJURY this 26th day of January,
2024.




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